                                                                           BETSY D. BAYDALA
                                                                           DIRECT: 212.994.6538
November 21, 2022                                                     BBAYDALA@KBRLAW.COM
                                   Plaintiff shall file a response by November 29, 2022,
VIA ECF FILING ONLY
                                   stating any objection to the Court's finding that the
                                   referenced pathology slides based on Defendants' filing
Hon. Lorna G. Schofield, U.S.D.J.
                                   of affidavits from Cleveland Clinic and defense counsel
United States District Court, SDNY
500 Pearl Street                   who received the slides and provided them to Dr. Theise.
New York, NY 10007
                                                        Dated: November 22, 2022
Re:    Powers v. Memorial Sloan Kettering Cancer Center, et al. New York, New York
       Docket No. :                            1:20-cv-02625

Dear Judge Schofield:

Defendants respectfully submit this letter motion for leave to file a motion to deem certain
pathology slides Defendants seek to have admitted into evidence at trial authenticated, or in the
alternative, for permission to take the depositions of the custodians of those slides.

Upon preparing the final pretrial order due February 14, 2023 (Doc. 388), plaintiff’s counsel
advised that he objects to the authenticity of the pathology slides Defendants seek to admit as
evidence at trial. Specifically, the three digital images of pathology slides from Memorial
(Exhibit “A”, Memorial Pathology Report of the April 10, 2017 right liver biopsy, Accession #:
S17-20576), and 11 slides of re-cuts of pathology slides from Cleveland Clinic (Exhibit “B”,
Cleveland Clinic Pathology Report dated August 28, 2019, Specimen #: S19-123485), as well as
any photographs of these slides taken by Defendants’ expert, Dr. Theise.

We have met and conferred with plaintiff’s counsel on this issue at least three times. Plaintiff’s
counsel offered that he could not stipulate to the authenticity of the pathology slides because he
does not want to facilitate our expert pathologist, as opposed to offering any genuine concern
regarding the authenticity of these slides.

FRE 901(a) provides that authentication is proper if the proponent presents “evidence sufficient
to support a finding that the matter in question is what its proponent claims.” As set forth below,
the pathology slides at issue from Memorial and Cleveland Clinic can be properly authenticated
to a degree sufficient to warrant their admissibility at trial.

On October 8, 2020, the Court Ordered plaintiff to provide Defendants with an authorization to
obtain the re-cuts of Ms. Zak’s liver pathology slides from Cleveland Clinic. (Doc. 81, p. 6). In
response to the authorization, on November 3, 2020, Cleveland Clinic’s Department of Anatomic
Pathology provided Defendants with 11 re-cuts of the original pathology specimens. The
reference numbers of the re-cut slides, S19-123485, all match the specimen number contained in
the Cleveland Clinic pathology report and contain Ms. Zak’s name. (Exhibit “C”).

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On November 30, 2020, Defendants served an expert disclosure from a liver pathologist, Dr.
Theise. As part of the materials reviewed, Dr. Theise listed “Pathology report and slides from
Cleveland Clinic: S19-123485 (8/23/19).” On March 24, 2021, Defendants exchanged with
Plaintiff the 11 slides of re-cuts of pathology specimens received from Cleveland Clinic so that
they had an opportunity to examine the slides before they deposed Dr. Theise.
On April 12, 2021, Defendants also informed plaintiff that Dr. Theise was subsequently provided
with three digital images of the April 10, 2017 liver biopsy slides from Memorial, and copies of
those digital images were provided to Plaintiff. The three digital images contain the reference
numbers of the slides, S17-20576, which match the accession number contained in the Memorial
pathology report and contain Ms. Zak’s name. (Exhibit “D”).

Dr. Theise was deposed on April 15, 2021. After the completion of discovery, Defendants filed
their motion for summary judgment on August 16, 2021. As part of their motion, Defendants
argued that there is no causal link between the ablation procedure at issue on April 10, 2017 and
Ms. Zak’s death on August 23, 2019. Defendants’ position was supported by Cleveland Clinic’s
pathology review of Ms. Zak’s liver on the date of her death, as well as by their expert, Dr.
Theise’s review of the pathology specimens.                Plaintiff opposed the motion on
September 20, 2021.

Critically, at no point during discovery or in dispositive motion practice did plaintiff ever claim
that the pathology slides sought to be admitted into evidence at trial were anything but authentic.
Plaintiff has never claimed that the pathology materials obtained from Cleveland Clinic and
Memorial derived from a source other than Ms. Zak. Plaintiff has also never claimed any
misconduct in the handling of the slides, such as altering of the evidence.

Accordingly, the Defendants submit that these pathology slides are properly authenticated under
FRE 901(a) because there is evidence sufficient to support a finding that the pathology slides
from Cleveland Clinic and Memorial are Ms. Zak’s liver pathology specimens from
August 23, 2019 and April 10, 2017, respectively. With respect to any photographs of those
slides, Defendants will lay an appropriate foundation through Dr. Theise at trial as to the
photographs he took of those slides.

Finally, while preparing the final pretrial order, it became apparent that many of the areas of
disagreement between the parties are contingent upon issues that have been submitted to the
Court as part of the parties’ motions in limine. Defendants respectfully request that the motions
in limine be decided prior to the deadline for the final pretrial order (February 14, 2023), or
alternatively, that the deadline for the final pretrial order be extended to a date after the Court has
decided the motions in limine. We met and conferred with plaintiff’s counsel, but he declined to
submit a joint letter on this issue.

We appreciate the Court’s time and consideration to these requests.

Respectfully submitted,

KAUFMAN BORGEEST & RYAN LLP

/s/ Betsy D. Baydala

Betsy D. Baydala
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cc:     via ECF filing

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